Case 2:05-cr-20175-.]PI\/| Document 13 Filed 06/08/05 Page 1 of 2 Page|D 11

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[N THE UNITED STATES DISTRICT COURT ‘ W

FoR THE wEsTERN DISTRICT oF TENNESSEE 95 q iii _ 3 pg
EASTERN DIVISION “' “ "

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UNITED STATES OF AMERICA

 

 

v.
SUNDAY UZUH 05cr20175-Ml
ORDER ON ARRAIGNMENT
This cause came to be heard on (%2_/¢ ¢,¢ ii ZOQS the United States Attorney
for this district appeared on behalf of the go emment, and the defendant appeared in person and with
counsel:

 

NAMYZ(\§V M//I/ @Em_/ who is Retained/Appointed.

The defendant, through counsel, waived fonnal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

/

The defendant, Who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the custody

of the U.S. Marshal. w
(V»~ » _
UNITED STATES MAGISTRATE ]UDGE

CHARGES - 31:5332.F
Bull< Cash smuggling into or out of the United States

Attorney assigned to Case: S. Parl<er

Age: 50

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with Flu|e 55 anti/orE£E(b) FI'-iCrP onL;‘ § Kf 2 /j

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UNITED sTATE DRISTIC COURT - WESTERN D'S'TRCT oFTENNESSEE

     

Notice of Distribution

This notice confirms a copy of the document docketed as number l3 in
case 2:05-CR-20175 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

Stephen C. Parker

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NeWton S. Holiday
CAlN & HOLIDAY
208 Third Ave.
North 5th Floor
Nashville, TN 38201

Honorable .l on McCalla
US DISTRICT COURT

